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    The Washington Post
Opinions

The real history of the DEA and opioids

The Nov. 29 news article "Ex-DEA officials want anti-opioid tool restored" continued the false
narrative that a law passed by Congress and signed by President Barack Obama hinders the
Drug Enforcement Administration's efforts to combat the opioid epidemic.

As a former associate chief counsel for the DEA, I was responsible for supervising all
administrative litigation and enforcement actions against DEA registrants. During my tenure,
my team initiated a record number of enforcement actions, including immediate suspension
orders. After my departure, the volume of administrative actions significantly decreased. That
was in 2013, a full three years before the enactment of the Ensuring Patient Access and
Effective Drug Enforcement Act. Former DEA employees who say the decrease is because of
the legislation would prefer to rewrite history.

During Joseph T. Rannazzisi's tenure as the head of the Office of Diversion Control,
oxycodone and hydrocodone limits increased by more than 300 percent. The idea that the
DEA was simply responding to the demand in prescribing is fundamentally false. In the
1970s, the DEA significantly reduced the amphetamine quota to successfully combat rising
abuse of speed pills. In the 1980s, the methaqualone quota was reduced to combat the illicit
use of quaaludes. It is perplexing why the DEA did not address the opioid epidemic in the
same manner.

It is certainly Congress's prerogative to review the legislation. It should do so, however, based
on facts and a clear understanding of everyone's responsibilities to protect public health.

Larry Cote, Washington

The writer leads Quarles & Brady's
DEA compliance and litigation practice group.




https://www.washingtonpost.com/opinions/the-real-history-of-the-dea-and-opioids/2017/12/01/6ab9d194-d5f7-... 7/26/2019
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